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                         UNITED ST A TES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

MASON WOOLLEY,                           )
    Plaintiff,                           )      Case No. 3:19-cv-30004-MGM
v.                                       )
                                         )
UNIVERSITY OF MASSACHUSETTS              )
AMHERST,                                 )
     Defendant.                          )
_______________)

                    STIPULATION TO DISMISS WITH PREJUDICE

      The parties settled this matter on July 24, 2019 and, as a condition of that

settlement, as memorialized in the parties' Settlement Agreement and Release, hereby

dismiss this case with prejudice.

Dated: July 24, 2019

MASON WOOLLEY

Pl~             ~

Mason Woolley

UNIVERSITY OF MASSACHUSETTS AMHERST




Senior Litigation Counsel
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                              CERTIFICATE OF SERVICE

In accord with Dkt. No. 21, I affirm that I served a copy of the above document on
plaintiff, Mason Woolley, via CM/ECF.                  .             ___..._,__,.. /
                                               Isl Denzse Barton     ~ k?{Y
                                           Denise Barton




                                             2
